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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                              CASE NO. 23-80101-CR-CANNON(s)

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

       GOVERNMENT’S CONDITIONAL MOTION FOR LEAVE TO FILE SURREPLY
       TO DEFENDANT NAUTA’S REPLY IN SUPPORT OF HIS MOTION TO DISMISS
              BASED ON SELECTIVE AND VINDICTIVE PROSECUTION

         On March 24, 2024, defendant Waltine Nauta filed a reply in support of his motion to

  dismiss the Superseding Indictment for selective and vindictive prosecution. 1 In his reply, Nauta

  for the first time made numerous false factual assertions and meritless arguments that could have

  been raised in his motion. That was no less procedurally improper than it was a month ago, when

  the Government sought and obtained the same relief it seeks here—that the Court either disregard

  defense assertions and arguments improperly raised in a reply, or grant the Government permission

  to file a surreply. See ECF Nos. 305, 319. Arguments and factual assertions not presented in an

  opening motion and raised for the first time in a reply brief are not properly before the Court.

  These repeated attempts by the defendants to reserve arguments until their reply briefs in order to

  prevent the Government from responding serve neither the Court nor efficient process, and they



         1
           None of Nauta’s Motion (“Mot.”), the Government’s response (“Resp.”), or Nauta’s
  Reply (“Reply”) has yet been docketed publicly or received an ECF number.
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  should stop. The Government requests that the Court disregard the false factual assertions and

  arguments in Nauta’s reply, or alternatively grant the Government leave to file a surreply to address

  them. See S.D. Fla. L. R. 7.1(c)(1). 2 If the Court grants leave, the Government respectfully

  requests permission to file its surreply within one week of the Court’s order.

  I.      Background

          In his motion to dismiss, Nauta advanced claims under theories of vindictive prosecution

  and selective prosecution. Mot. at 7-13. In his reply, he has sought to make new and meritless

  arguments under both theories, and the Court should disregard them.

          A.      Vindictive prosecution

          In order to make out a vindictive prosecution claim, Nauta must show “genuine animus

  toward the defendant” and that he “would not have been prosecuted but for that animus.” United

  States v. Wilson, 262 F.3d 305, 314 (11th Cir. 2001). In his motion, Nauta’s animus argument was

  based entirely on allegations about (a) his attorney’s conversation over coffee with a prosecutor,

  during which the prosecutor allegedly said the Government would not “accept anything less than

  Mr. Nauta’s full cooperation,” and later sent Nauta a target letter; and (b) Nauta’s declining to

  testify in the grand jury after receiving the target letter. Mot. at 9-10.

          In its response, the Government explained that Nauta’s arguments were meritless because,

  among other things, his decision not to testify before the grand jury was not an invocation of his

  Fifth Amendment rights, and the Government’s decision to charge him after he declined to

  cooperate did not amount to vindictiveness as a matter of law. Resp. at 11-12.




          2
          Defendant Trump and defendant De Oliveira take no position on this motion. Defendant
  Nauta requests an opportunity to respond to this motion in accordance with the Local Rules.

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         Nauta spent over half of his reply laying out new factual allegations and theories of animus

  that he failed to mention, much less argue, in his opening motion. Reply at 2-6. Many of the

  factual allegations are flat-out false, and the associated theories of animus are deeply flawed. But

  for present purposes, it is beyond question that at the time Nauta filed his motion, he and his

  counsel were fully aware of all of the facts and arguments they improperly saved for their reply.

  Nauta has no excuse for not including them in his opening motion, and the Court should disregard

  them entirely in deciding that motion.

         B.      Selective prosecution

         In order to make out a selective prosecution claim, the first thing a defendant must show is

  that “similarly situated individuals were not prosecuted,” which requires identification of a

  “comparator [who] committed the same basic crime in substantially the same manner as the

  defendant,” and “against whom the evidence was as strong or stronger than that against the

  defendant.” United States v. Smith, 231 F.3d 800, 809-10 (11th Cir. 2000). In his opening brief,

  Nauta identified two alleged comparators. Mot. at 12-13. In its response, the Government

  explained why neither comparator remotely qualified as a similarly-situated comparator of the type

  required by Smith. Resp. at 7-9.

         In his reply, Nauta chastised the Government for “focusing its response on these two

  individuals,” but they were the only ones he argued in his motion. Reply at 7, Mot. at 12-13. He

  further claimed that he “only offered those [two] individuals as examples” in his opening brief—

  despite the word “example” appearing nowhere in that brief—and alleged a “universe of other

  comparators who, unlike Mr. Nauta, were likewise never prosecuted.” Reply at 7. But instead of

  naming anyone else in that “universe,” Nauta resorted to his adoption of defendant Trump’s motion

  to dismiss for selective and vindictive prosecution, and attempted to rely on the comparators that



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  Trump named in his motion, in an apparent effort to argue—for the first time—that President

  Biden’s staff members are similarly-situated comparators as to him. We say “apparent” only

  because Nauta provided no elaboration on his theory beyond mentioning these individuals and

  conclusorily dubbing them “similarly situated.” Reply at 7-8.

  II.    Discussion

         Arguments and facts presented for the first time in a reply brief “come too late” and should

  not be considered. Sapuppo v. Allstate Floridian Ins. Co., 739 F.3d 678, 683 (11th Cir. 2014); see

  In re Egidi, 571 F.3d 1156, 1163 (11th Cir. 2009); Amargos v. Verified Nutrition, LLC, 666 F. Supp.

  3d 1249, 1250 (S.D. Fla. 2022) (disregarding arguments in lieu of allowing a surreply); Willis v.

  DHL Global Customer Solutions (USA), Inc., No. 10-62464-CIV, 2011 WL 4737909, at *3 (S.D.

  Fla. Oct. 7, 2011) (“Judges in this district ... have repeatedly rejected attempts by parties to raise

  new arguments in reply memoranda.”) (collecting cases); S.D. Fla. L.R. 7.1(c). And moving

  parties cannot evade this well-established rule by contending that they were merely responding to

  arguments raised in the non-moving party’s opposition. As this Court has observed in a similar

  context, no authority supports the proposition that a defendant who fails to raise an argument in an

  opening motion “nevertheless can insist on Court review of arguments not raised in the Motion

  simply because the opposing party chooses to raise new issues in opposing the motion.” Silva v.

  Fancydressme Inc., No. 22-cv-80920, 2022 WL 15179957, at *2 (S.D. Fla. Oct. 27, 2022).

         As the Eleventh Circuit has explained, “[w]hen faced with a reply brief that offers new

  evidence, . . . the district court has two permissible courses of action. It can either (1) permit the

  nonmoving party to file a surreply or (2) refrain from relying on any new material contained in the

  reply brief.” Atlantic Specialty Ins. Co. v. Digit Dirt Worx, Inc., 793 F. App’x 896, 901-02 (11th

  Cir. 2019). Local Rule 7.1(c)(1), in turn, provides that any surreply may not “be filed and served



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  without prior leave of Court,” and “[a] district court’s decision to permit the filing of a surreply is

  purely discretionary and should generally only be allowed when a valid reason for such briefing

  exists, such as where the movant raises new arguments in its reply brief.” First Specialty Ins.

  Corp. v. 633 Partners, Ltd., 300 F. App’x 777, 788 (11th Cir. 2008) (citation and internal quotation

  marks omitted). See also Hammett v. Am. Bankers Ins. Co., 203 F.R.D. 690, 695 n.1 (S.D. Fla.

  2001) (“Because Plaintiff presented new arguments and a new theory . . . in her Reply the Court

  will grant Defendants’ Motion for Leave to File a Sur-Reply. . . .”); Trigeant Ltd. v. Petroleos De

  Venezuela, S.A., No. 08-80584-CIV, 2009 WL 10668636, at *3 (S.D. Fla. Feb. 10, 2009) (allowing

  surreply to allow plaintiffs to “address new issues raised by Defendant” and to “correct

  mischaracterizations of [Plaintiffs’] position and the law”).

         In his reply brief, Nauta presented both argument and evidence that he did not offer in his

  opening brief. The Court should decline to consider those belated claims. Sapuppo, 739 F.3d at

  683; S.D. Fla. L.R. 7.1(c). This is especially so where, as here, Nauta had months to prepare his

  motion and the evidence was available to him all along. See Baltzer v. Midland Credit Mgmt., Inc.,

  No.14-20140-CIV, 2014 WL 3845449, at *1 (S.D. Fla. Aug. 5, 2014) (“A reply memorandum may

  not raise new arguments or evidence, particularly where the evidence was available when the

  underlying motion was filed and the movant was aware (or should have been aware) of the

  necessity of the evidence.”).

         Nauta is of course entitled to attempt to satisfy the relevant standards. But he may not do

  so by introducing in a reply brief evidence and arguments that he could have offered at the outset.

  Whether that was by design or neglect, the result is the same: the Court should disregard the

  arguments and evidence. Moreover, as noted above, no defendant could claim lack of warning

  about the consequences of these tactics. Barely a month ago, the Government sought the same



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  relief, on the same basis, in response to a collective attempt by the defendants to introduce new

  argument and evidence in a reply brief, and the Court granted the Government’s requested relief

  in part—permitting it to file a surreply. In other words, even if Nauta’s counsel weren’t already

  on notice of basic pleading requirements, he certainly was after the Court’s order granting the

  Government relief. Declining to consider the arguments and evidence Nauta raised for the first

  time in his reply brief would not unfairly prejudice him.

         In the alternative, if the Court is inclined to consider the flawed evidence and arguments

  presented for the first time in Nauta’s reply, the Government should be allowed to file a surreply

  to answer them. Atlantic Specialty Ins. Co, 793 F. App’x at 901-02. Nauta’s contentions are rife

  with both factual and legal errors, and the Court should not consider them (much less rely on them)

  without affording the Government the opportunity to respond.            If the Court declines the

  Government’s suggestion that it disregard Nauta’s evidence and arguments entirely as improperly

  raised, the Government respectfully requests the opportunity to file a surreply.

  III.   Conclusion

         The Court should not consider facts and argument raised for the first time in Nauta’s reply

  in support of his motion to dismiss based on selective and vindictive prosecution. In the

  alternative, the Court should permit the Government to file a surreply within one week of the

  Court’s order.

                                                Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 27, 2024, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission of

  Notices of Electronic Filing.

                                              /s/ David V. Harbach, II
                                              David V. Harbach, II




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